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                                                                                                           CO 939
                                                                                                       Rev. 9/2017


              UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                       FOR THE DISTRICT OF COLUMBIA


 MASIH ALINEJAD
_________________________________________
                        Plaintiff(s)

       vs.                                                           Civil Action No.:   19-cv-03599-EGS




 IRAN, THE ISLAMIC REPUBLIC OF et all
_________________________________________
                          Defendant(s)



                                      CERTIFICATE OF MAILING

                                                               29th day of __________________,
       I hereby certify under penalty of perjury, that on the ______              June            20
                                                                                               20____,
I mailed:

1. ❑ One copy of the [summons
                       summons andandcomplaint
                                       complaint] by [registered     mail,return
                                                         registered mail,   return rec requested]
                                                                                 receipt requested         , to
     the individual of the foreign state, pursuant to the provisions of FRCP 4(f)(2)(C)(ii).

2. ❑ One copy of the [summons,     complaint
                       summons, complaint  andand  a notice
                                                notice of suitof su], together with a translation of each into
     the official language of the foreign state, by registered
                                                     [registered   mail,
                                                                mail,    return
                                                                      return     receipt
                                                                             receipt     reques], to the head of
                                                                                     requested
     the ministry of foreign affairs, pursuant to the provisions of 28 U.S.C. § 1608(a)(3).

3. ❑ Two copies of the [summons,    complaint
                          summons, complaint   and
                                             and    a notice
                                                 notice      of suit], together with a translation of each
                                                        of suit
     into the official language of the foreign state, by [certified  mail,
                                                          certified mail,    return
                                                                          return     receipt,
                                                                                 receipt       delivery], to the
                                                                                         requested
                                                          th
     U.S. Department of State, CA/OSC/L, SA-17, 10 Floor, Washington, DC 20522-1710, ATTN:
     Director of Overseas Citizens Services, pursuant to the provisions of 28 U.S.C. § 1608(a)(4).

4. ❑ One copy of the [summons
                      summons and andcomplaint
                                      complaint/or], together with a translation of each into the official
     language of the foreign state, by [registered     mail,
                                           registered mail,    return
                                                            return     receipt
                                                                   receipt      requested], to the agency or
                                                                           requested
     instrumentality of the foreign state, pursuant to 28 U.S.C. § 1608(b)(3)(B).




                                                               ANGELA D. CAESAR, CLERK

                                                       By:               /s/Jackie Francis
                                                                              Deputy Clerk
